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                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MAINE


Juliann Andrews                             *
                                            *
Plaintiff,                                  *
                                            *
v.                                          *   CIVIL ACTION NO.
                                            *
MaineHealth,                                *
                                            *
Defendant                                   *
                                            *
                                   PLAINTIFF’S COMPLAINT
                                AND DEMAND FOR JURY TRIAL
                                 INJUNCTIVE RELIEF SOUGHT

         Plaintiff Juliann Andrews, by and through counsel, complains against defendant,

MaineHealth, as follows:

1.           Ms. Andrews brings this action because defendant discriminated against her in

             employment on the basis of disability, subjected her to a hostile work environment, and

             retaliated against her because she requested accommodation of disability and exercised

             her right medical leave, and because she reported and opposed discriminatory

             treatment, in violation of the Americans with Disabilities Act (“ADA”) 42 U.S.C. §§

             12101 et seq., the Maine Human Rights Act (“MHRA”), 5 M.R.S. §§ 4551 et seq., the

             Maine Whistleblowers’ Protection Act (“MWPA”), 26 M.R.S. §§ 831 et seq., the

             Family and Medical Leave Act of 1993 (“FMLA”), 29 U.S.C. §§ 2601 et seq., and the

             Maine Family Medical Leave Requirement Act, (“MFMLR”) 26 M.R.S. §§ 843 et seq.


                                 JURISDICTION AND PARTIES

2.           Plaintiff Andrews is a resident of Brunswick, Cumberland County, Maine.

3.           Defendant MaineHealth is a corporation incorporated in Maine, with a principal place

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       of business in Portland, Cumberland County, Maine.

4.     Mid Coast-Parkview Health was a Maine Corporation with a place of business in

       Brunswick Maine which merged with MaineHealth in about January 2021.

5.     Mid Coast Hospital was a Maine Corporation with a place of business in Brunswick

       Maine which merged with MaineHealth in about January 2021.

6.     Defendant MaineHealth is the successor to Mid Coast-Parkview Health and Mid Coast

       Hospital.

7.     As of about January 2021, defendant MaineHealth assumed and thereafter continued

       the operations and workforce of Mid Coast-Parkview Health and Mid Coast Hospital.

8.     As of about July 2020, defendant MaineHealth had actual or constructive notice of

       plaintiff Andrews’ claims of discrimination against Mid Coast-Parkview Health and

       Mid Coast Hospital.

9.     Defendant MaineHealth has assumed the legal identity of Mid Coast-Parkview Health,

       assumed its liabilities and assumed its ability to provide relief directly to plaintiff

       Andrews.

10.    Defendant MaineHealth has assumed the legal identity of Mid Coast Hospital, assumed

       its liabilities and assumed its ability to provide relief directly to plaintiff Andrews.

11.    This Court has original subject matter jurisdiction over Plaintiff’s federal claims

       pursuant to 28 U.S.C. § 1331.

12.    This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant to

       28 U.S.C. § 1367 because those claims are so related to the federal claims that that

       they form part of the same case or controversy.

13.    On July 6, 2020, Ms. Andrews filed a charge of discrimination against defendant’s



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       predecessor corporations, Mid Coast Parkview Health and Mid Coast Hospital, with

       respect to the allegations herein with the Maine Human Rights Commission

       (“MHRC”) and the Equal Employment Opportunity Commission (“EEOC”).

14.    Ms. Andrews filed amended charges of discrimination with the MHRC and EEOC

       against defendant’s predecessor corporations, Mid Coast Parkview Health and Mid

       Coast Hospital in 2021 and against defendant in 2022.

15.    On April 13, 2022, on Ms. Andrews’ request, the MHRC issued notice of right to sue

       on her claims under Maine law.

16.    On May 25, 2022, on Ms. Andrews’ request, the EEOC issued notice of right to sue on

       her claims under the ADA.

17.    Ms. Andrews has exhausted all administrative remedies.

18.    All of the discriminatory practices alleged herein were committed within the State of

       Maine, and within Cumberland County.

19.    Defendant is subject to the jurisdiction of this Court.

20.    This action is brought properly in the District of Maine pursuant to 28 U.S.C. §

       1391(b) because a substantial part of the acts or omissions giving rise to Ms. Andrews’

       claims occurred in this judicial district.

21.    At all material times, defendant individually or by its predecessors employed Ms.

       Andrews within the meaning of the ADA, FMLA, MFLRA, MHRA and MWPA.

22.    Pursuant to Federal Rule of Civil Procedure 38(b), Ms. Andrews hereby demands a

       trial by jury on issues triable of right by jury.




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                                   STATEMENT OF FACTS

23.    Ms. Andrews was employed as a Patient Services Representative with Mid Coast-

       Parkview Health, also doing business as Mid Coast Hospital, since merged with

       defendant MaineHealth, (hereinafter referred to as “defendant” or “Mid Coast”) in its

       Central Registration Department from May 5, 2017 to November 18, 2020.

24.    Ms. Andrews has a disability of a seizure disorder, along with mental health conditions

       including anxiety and depression for which she received medical treatment, including

       during 2019 and 2020.

25.    Ms. Andrews was hired to work part-time, starting at 20 hours per week, which

       increased to 25 then 32 hours per week on afternoon to evening shifts and Saturdays.

26.    At the outset of her employment by Mid Coast, Ms. Andrews disclosed to her

       supervisor, Bonnie Novak that due to her disability, she could not work 40 hours a

       week, but could work part-time hours.

27.    Ms. Andrews performed her job duties well, and received positive evaluations from her

       supervisors in 2017, 2018 and May 2019.

28.    In about February 2018, at the suggestion of her supervisor, Bonnie Novak, Ms.

       Andrews requested intermittent leave under the FMLA for her health conditions to

       cover work absences which Mid Coast approved.

29.    In about April 2019, Ms. Andrews again requested and Mid Coast approved

       intermittent leave under the FLMA to cover any work absences that were due to her

       seizure disorder and health conditions.

30.    Prior to July 2019, Ms. Andrews had one or more seizures that caused her to be absent

       from work.



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31.    In about March 2019, Alyssa Brown became Supervisor for Registration for Mid Coast

       and Ms. Andrews’ supervisor.

32.    As of March 2019, Brown was aware of Ms. Andrews’ seizure condition from their

       prior communications.

33.    As of July 15, 2019, Brown was aware that Ms. Andrews had been approved for

       intermittent leave under the FMLA, and that Ms. Andrews had used intermittent leave.

34.    On April 27, 2019, Ms. Andrews learned from the Mid Coast newsletter that she was

       commended by a patient for outstanding work helping a fearful child, of which Brown

       was aware.

35.     In about July 2019, Ms. Andrews told Brown that she needed to use one day of

       medical leave.

36.    Brown asked, with evident irritation and a derogatory tone, if it was because of Ms.

       Andrews’ “issues,” which was the term Brown used to refer to Ms. Andrews’ seizure

       disorder. Ms. Andrews answered that it was.

37.     On July 24, 2019, Brown presented Ms. Andrews with a written counselling for

       claimed performance issues that she had not raised previously, and that she did not

       give Ms. Andrews a chance to rebut.

38.    Brown wrote that Ms. Andrews was refusing to register patients, arguing with a

       coworker in front of customers, not answering phone calls from the emergency

       department, and making errors.

39.    The claims Brown made about Ms. Andrews’ performance were false.




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40.    Without justification, Ms. Brown criticized Ms. Andrews for another employee’s

       refusal to do her job of registering a patient.

41.    Ms. Brown unfairly cited Ms. Andrews for the co-worker’s improper conduct while a

       patient was in her presence, of calling Ms. Andres, saying that she was sending the

       patient to Ms. Andrews for registration, saying not to send the patient back, then

       hanging up the phone.

42.    Contrary to Ms. Brown’s claims, there was no indication that Ms. Andrews had missed

       or not answered phone calls.

43.    Brown asserted, without basis, that Ms. Andrews made accuracy errors which had been

       made by other employees, which Ms. Andrews had no way to verify, and which were

       not her fault.

44.    Ms. Andrews was extremely upset by Brown’s unwarranted criticisms.

45.    Brown asserted that Ms. Andrews overreacted to the discipline, to which Ms. Andrews

       objected that she had no prior notice of the performance deficiencies Brown asserted,

       and asked Brown to provide details so Ms. Andrews could better respond.

46.    Due to the stress from Brown’s unwarranted criticism, Ms. Andrews suffered a major

       seizure while at work on July 29, 2019, lost consciousness and was treated in the

       Emergency Department.

47.    Ms. Andrews was out of work on FMLA medical leave the four following days.

48.    On July 22, 2019, the Hospital wrote a letter informing Ms. Andrews that she was to

       receive a $1.05 per hour pay raise, which letter she did not receive until August 1.




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49.    When Ms. Andrews returned to work, on about August 5, Brown gave her the letter

       notifying of the raise, told her of the $1.05 an hour pay raise, stated the raise was

       confidential and asked Ms. Andrews not to tell others.

50.     When Ms. Andrews returned to work in August 2019, she was told that a new

       employee, who was moving from per-diem to full-time status was going to start

       training with her on Saturdays.

51.    In early September 2019, Brown told Ms. Andrews that they were going to change

       shifts so the new employee could work on Saturdays, and that Andrews would not

       have to work on Saturdays.

52.    Ms. Andrews objected that she liked her Saturday shifts, to which Brown responded

       that she was “trying to be kind” and “this is a kind gesture.”

53.    Ms. Andrews was unhappy that Brown was cutting 6 hours from her weekly schedule,

       and asked that Brown to let her know if she could fill in.

54.    In October 2019, Brown gave the new employee Ms. Andrews’ Saturday shifts.

55.    Because of Brown’s conduct, comments, unwarranted criticisms of Andrews’ job

       performance, and decision to cut Andrews’ work hours, Ms. Andrews believed that

       Brown was treating her unfairly and harassing her because of her disability and her use

       of medical leave.

56.    In about November 2019, Ms. Andrews informed Ms. Brown that she needed to take

       FML leave for a day, because she was feeling dizzy, which is a sign of a potential

       seizure.




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57.    Ms. Brown asked whether the requested leave was part of Ms. Andrews’ “issue,” to

       which Ms. Andrews indicated it was, and Brown expressed displeasure with the

       request.

58.    In about early February 2020, Ms. Andrews’ primary care provider submitted a Family

       Medical Leave certification to Mid Coast Hospital. Among other matters, the

       provider’s certification indicated that due to flareups of her health conditions, Ms.

       Andrews would need to be absent from work on an intermittent basis, estimated to be

       approximately 4 days per month.

59.     In late February 2020, Brown informed Ms. Andrews that her hours were being cut by

       5 hours per week and her schedule was changed to work from 3 p.m. to 7 p.m. instead

       of 2 p.m. to 7 p.m.

60.    Brown stated it was Andrews’ original schedule, that her 2 p.m. start time was never

       officially on the books, and that she wanted everything to be correct for the upcoming

       merger with MaineHealth.

61.    Brown then asked Ms. Andrews if she wanted to work on Saturdays because the new

       employee wanted them off.

62.    Ms. Andrews responded that she would work some but not all Saturdays because

       working 6 days a week is demanding.

63.    In March, 2020 with the onset of COVID restrictions, Mid Coast sent a letter out

       saying that it guaranteed to pay employees for their regular or “core” hours, even if

       they were not working all those hours.




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64.    In early March, Brown denied part of Ms. Andrews’ request for 28 hours vacation time

       to attend her uncle’s funeral at the end of March, stating that under Mid Coast policy

       employees are supposed to give 30 days’ advance notice.

65.    Ms. Andrews was aware Brown allowed one or more other employees to take vacation

       even though they had not given 30 days prior notice.

66.    Ms. Andrews believes that Brown denied her vacation request in discrimination against

       her because of disability and because of her use of medical leave.

67.     In early March 2020, Brown told Ms. Andrews that she was changing people’s

       schedule around to fit the needs of the company, and that because the lab was closing

       at 6 p.m. she wanted Ms. Andrews to work from 2 p.m. to 6 p.m.

68.    Shortly thereafter, Ms. Andrews learned that Brown was allowing other employees to

       work 6 hours while they were paid for their regular 8-hour schedule.

69.    Ms. Andrews believed Brown was discriminating against her because of disability

       because she did not offer to allow her to work fewer hours while being paid for her

       regular schedule of 4 hours, and because Brown was changing Andrews’ work

       schedule to make it possible for other employees to leave early and to be paid for the

       time Ms. Andrews was doing their work.

70.    On March 24, 2020, by text message, Ms. Andrews objected to Brown that she was

       discriminating against her in changing her schedule to start work at 2 p.m. to

       accommodate other employees.

71.    Ms. Andrews objected to discriminatory treatment to Brown, pointing out that Brown

       approved paying other employees for hours they did not have to work, while deciding

       that Andrews only was paid for the hours she actually worked.



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72.    Ms. Andrews objected to Brown that her medical doctor did not want Andrews’ work

       schedule changed for medical reasons and that Andrews had called the Mid Coast’s

       Employee Health Department, which handles accommodation and leave matters.

73.    In the same time period in about late March 2020, Ms. Andrews contacted the

       Hospital’s Human Resources Department (“HR”) and reported that she believed she

       was being discriminated against in pay and scheduling.

74.    The HR staff told Ms. Andrews that would be discrimination, and that Brown would

       not do that.

75.    The HR staff told Ms. Andrews that she was mistaken, that the HR staff had checked

       with Brown and been told that the work schedules of other employees had not

       changed.

76.    Ms. Andrews next met with another HR representative and reiterated her complaint

       that she was being treated differently and unfairly in comparison with other employees.

77.    Shortly thereafter Mid Coast’s HR manager, Patty Feldman, called Ms. Andrews and

       discussed her complaints of discriminatory treatment in pay and scheduling.

78.    Thereafter, Feldman arranged changes to Ms. Andrews’ schedule and pay with the

       arrangement that Ms. Andrews worked from 3 to 6 p.m., and that she was paid for 20

       hours while working 15 hours, which arrangement was in effect from March 9, 2020

       until June 5, 2020.

79.    On May 13, 2020, Brown gave Ms. Andrews a negative evaluation, with the lowest

       possible ranking “Opportunities for Improvement.”

80.    Brown ignored the positive feedback Ms. Andrews had received for interactions with

       patients and did not factor in Ms. Andrews’ high accuracy rate of 98.7 percent.



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81.    Instead, Ms. Brown cited Ms. Andrews with a litany of unfounded criticism in further

       discrimination based on disability, and use of medical leave, and in retaliation for Ms.

       Andrews’ complaints of discriminatory treatment.

82.    Brown’s evaluation faulted Ms. Andrews for being unwilling to be flexible about her

       work schedule “to accommodate the needs of the department,” which referred to Ms.

       Andrews’ complaint that Brown was singling Andrews out for cuts in hours and pay,

       changing her schedule solely to benefit other employees, and not offering Andrews the

       same pay arrangements as other employees.

83.    Ms. Andrews believes Brown made the negative evaluation in retaliation for her

       request that her work schedule not be changed for medical reasons, and in retaliation

       for her complaints to Brown and HR about discrimination in scheduling and pay.

84.    Brown’s evaluation of Ms. Andrews made several assertions that had not been raised

       before and were false, including that Andrews was failing to communicate about what

       work she was doing, and not following instructions.

85.    In truth, Ms. Andrews had been sent to work in a new location without instructions,

       and did what was assigned.

86.    Brown’s evaluation claimed other employees stated Ms. Andrews was not wearing

       protective masks, which was false, she was wearing homemade masks, and no one told

       her that she was not wearing the correct type of mask.

87.    Brown’s evaluation stated Ms. Andrews was reading books while at work, which was

       not true, she only took one 10-minute break one day to read after spending a long

       stretch of time working.




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88.    Brown wrote that Ms. Andrews’ communication and cooperation with coworkers was

       sometimes lacking, without justification.

89.    Brown faulted Ms. Andrews for struggling to accept constructive criticism, referring to

       Brown’s unjustified counselling of July 2019.

90.    Brown held the meeting for Ms. Andrews’ evaluation with the Hospital’s interim

       Director of Registration and Billing, Joe Hall.

91.    Hall did not acknowledge that HR had intervened and overruled Brown’s decision by

       changing Ms. Andrews’ work schedule and pay arrangement. Instead among other

       matters, Hill stated that he did not understand what the big deal was about changing

       Ms. Andrews’ work schedule.

92.    As the immediate result of the unfair, negative evaluation, Ms. Andrews ended up with

       a very low, 14 cent per hour, pay raise for the following year.

93.    Ms. Andrews believed the poor evaluation set her up for further unwarranted adverse

       actions, and further differential and hostile treatment in her employment by Mid Coast.

94.    On July 6, 2020, Ms. Andrews filed a charge of discrimination with the Maine Human

       Rights Commission (“MHRC”) against Mid Coast for disability discrimination, hostile

       work environment and retaliation.

95.    The MHRC issued notice to Mid Coast of Ms. Andrews’ charge on July 28, 2020,

       which notice Mid Coast received in July 2020.

96.    In the summer of 2020, Ms. Andrews started training in the diagnostic imaging

       department, and continued to work in the registration department.

97.    Thereafter issues with Ms. Andrews’ interactions with co-workers arose, including that

       Registration supervisor, Melinda Palmer told a newly hired employee that he could



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       remove and discard Ms. Andrews’ belongings from a shared desk, which upset Ms.

       Andrews.

98.    Later, an issue arose with a co-worker, Rhea, who made false accusations about Ms.

       Andrews.

99.    Supervisors Palmer and Brown called Ms. Andrews to a meeting, where she explained

       and demonstrated in the daily activity report why she was correct, and the coworker

       was not, however the supervisors did not acknowledge that Ms. Andrews was correct.

100.   Next, on a Friday, Ms. Andrews was cleaning the office for the weekend, and put some

       wilted flowers on the trash to be discarded, because she understood the coworker did

       not want them.

101.   The following Monday, Brown gave Ms. Andrews a verbal warning, even though

       Andrews explained why she thought the co-worker no longer wanted the flowers.

102.   Several weeks later, Ms. Andrews accidentally bumped into a flower pot on the co-

       worker’s desk, and it fell and broke. Ms. Andrews left a note for the cleaners, asking

       them to clean it up, and left a note for Ms. Brown saying she would apologize to the

       co-worker on Monday.

103.   On October 15, 2020, HR manager Feldman and Brown, who brought a newly hired

       manager whom Ms. Andrews did not know, called Ms. Andrews to a meeting,

       asserting they were doing an investigation of issues including the broken flower pot.

104.   Ms. Andrews explained breaking the pot was an accident, however, the defendant’s

       managers continued questioning Ms. Andrews, and made false accusations about the

       accident.




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105.   Ms. Andrews informed the three managers that she was getting upset, and was afraid

       the anxiety she was experiencing might cause a seizure.

106.   Ms. Andrews had an FMLA approval for unscheduled intermittent leave, which also

       was a request for accommodation, on file with Mid Coast’s HR department for her

       seizures and related health conditions.

107.   Feldman stated that if Ms. Andrews had a seizure disorder, she should have applied for

       FMLA, to which Ms. Andrews responded that she had already done so.

108.   Feldman stated that she did not know about Ms. Andrews’ FMLA approval being on

       file, however, Brown nodded indicating that she knew of the FMLA approval.

109.   Ms. Andrews asked to take her mask down so she could breathe better, but Feldman

       said no.

110.   Ms. Andrews asked to leave the meeting, but Feldman said no, they wanted to finish

       the meeting, and continued questioning Ms. Andrews.

111.   Under the anxiety provoked by defendant’s managers unrelenting questioning and false

       accusations about an accident, Ms. Andrews began to hyperventilate, asked to leave,

       and then left the meeting.

112.   After a short time, Ms. Andrews returned to the meeting, then became more upset, and

       left the building in tears. That night, due to the anxiety from defendant’s managers’

       hostile treatment, Ms. Andrews suffered a seizure.

113.   Ms. Andrews was absent from work on October 15, 2020 and October 16, 2020, which

       absence was covered by defendant’s approved FMLA medical leave, and which leave

       was an accommodation of her disability.




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114.   Ms. Andrews informed Mid Coast supervisor Melinda Palmer on Friday, October 16,

       2020 that she was out of work on medical leave due to her health conditions.

115.   Palmer told Ms. Andrews that she would need to provide a doctor’s note if she did not

       return to work on the following Monday.

116.    On October 19, 2020, Ms. Andrews returned to work, where Feldman told her they

       were not allowing her to work, and instead putting her on paid administrative leave

       while they investigated further.

117.   On October 28, 2020, Feldman and Coleen Farrell, HR Director for Mid Coast, called

       Ms. Andrews to a meeting, where they gave her a disciplinary Final Warning, which

       made multiple false claims.

118.   As a proposed alternative to the disciplinary actions, Feldman and Farell provided a

       severance agreement proposing that Andrews quit employment, stated that Andrews

       had one day to accept it, and said that Ms. Andrews could only show it to her husband,

       even though they knew Ms. Andrews had an attorney representing her.

119.   Ms. Andrews decided to return to work, but did not agree to the discipline or to quit.

120.   Feldman told Ms. Andrew that she had until November 5, 2020 to turn in her request

       for religious exemption for the flu vaccine.

121.   Ms. Andrews turned in the request for religious exemption on or about November 4,

       2020, providing the same information that she had other years, when the requested

       exemption was approved.

122.   On November 6, 2020, Feldman informed Ms. Andrews that Final Warning discipline

       was imposed on her.




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123.   Mid Coast imposed Final Warning discipline on Ms. Andrews because she was absent

       from work October 15 and 16, 2020 on approved FLMA medical leave for her

       disability.

124.   On November 6, 2020, Feldman sent an email to Ms. Andrews stating she was

       required to get a flu shot to continue employment with Mid Coast, and would be

       suspended from employment on unpaid leave if she did not furnish proof of

       vaccination that day.

125.   The Hospital then suspended Ms. Andrews from employment on November 6, 2020.

126.   Ms. Andrews believes that Mid Coast approved other employees’ religious exemptions

       from the flu vaccine, and that Mid Coast was discriminating and retaliating against her

       by suspending her from employment.

127.   On November 18, 2020, Ms. Andrews submitted her resignation from employment to

       Mid Coast because of management’s ongoing hostile and discriminatory treatment.

128.   Ms. Andrews informed defendant’s manager Farrell that the “undue amount of stress

       only aggravates my seizure disorder to the point of having seizures on a regular

       basis.”

129.   Ms. Andrews had no reasonable alternative but to resign from employment because

       Mid Coast management’s hostile treatment of her was harming and endangering her

       health.

130.   Mid Coast’s claimed grounds for hostile treatment and adverse actions against Ms.

       Andrews are false and pretextual.

131.   During her employment with Mid Coast, Ms. Andrews had a disability within the

       meaning of the ADA, in that her seizures and related health conditions substantially



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       limited her in major life activities of working, and mental functions, and in the

       operation of major bodily functions, including but not limited to brain and neurological

       functions in the absence of mitigating measures.

132.   At all material times, Ms. Andrews had a disability within the meaning of the MHRA,

       5 M.R.S.A. § 4553-A. Namely, Ms. Andrews’ seizure disorder, and mental health

       conditions including anxiety and depression are impairments that significantly

       impaired her mental health or substantially limited one or more of her major life

       activities in the absence of mitigating measures under 5 M.R.S. § 4553-A (1)(A).

133.   At all material times, Ms. Andrews had a record of disability, in that she had a record

       of having a seizure disorder, and mental health conditions of anxiety and depression.

134.   Defendant regarded Ms. Andrews as a person with a disability for the purposes of the

       ADA and MHRA.

135.   At all relevant times, Ms. Andrews was qualified to perform the duties of her position

       of Patient Services Representative with defendant and was able to perform all the

       essential functions of her position with or without reasonable accommodations.

136.   Defendant discriminated against, subjected Ms. Andrews to a hostile work

       environment, and constructively discharged Ms. Andrews from employment because

       of her disability, thereby discriminating against her with respect to the terms,

       conditions and privileges of employment because of disability, in violation of the ADA

       and the MHRA.

137.   Defendant suspended then constructively discharged Ms. Andrews from employment

       because of disability rather than reasonably accommodating her disability, thereby

       discriminating against her with respect to the terms, conditions and privileges of



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       employment because of his disability, in violation of the ADA and the MHRA.

138.   Defendant subjected Ms. Andrews to a hostile work environment, suspended her

       employment and constructively discharge her because it regarded her as having a

       disability, thereby discriminating against her with respect to the terms, conditions and

       privileges of employment because of disability, in violation of the ADA and the

       MHRA.

139.   Defendant discriminated against Ms. Andrews because she requested accommodation

       and opposed discrimination on the basis of disability, thereby retaliating and

       discriminating against her in violation of the ADA, the MHRA and the MWPA.

140.   Defendant discriminated and retaliated against Ms. Andrews because she requested

       and used medical leave protected under the FMLA and MFMLRA.

141.   Defendant’s discriminatory actions toward Ms. Andrews were intentional and in

       violation of her rights under the ADA, FMLA, FMLRA, MHRA and MWPA.

142.   As a consequence of defendant’s discriminatory actions, Ms. Andrews has suffered

       damages including but not limited to lost wages, emotional distress, humiliation,

       inconvenience, injury to reputation, injury to career and other pecuniary and non-

       pecuniary losses.

143.   Ms. Andrews has no plain, adequate or complete remedy at law to fully redress the

       wrongs alleged, and will continue to suffer irreparable injury unless defendant is

       enjoined by this Court.

                COUNT I: Disability Discrimination in Violation of the
                     Americans with Disabilities Act (ADA)

144.   Plaintiff repeats and re-alleges each of the allegations set forth in the preceding

       paragraphs as if fully set forth herein.

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145.   Defendant discriminated against Ms. Andrews in violation of the ADA when it

       disciplined her and suspended her from employment because of her disability.

146.   Defendant discriminated against Ms. Andrews in violation of the ADA when it

       subjected her to a hostile work environment because of her disability.

147.   Defendant discriminated against Ms. Andrews in violation of the ADA when it

       constructively discharged her from employment because of her disability.

148.   Defendant discriminated against Ms. Andrews in violation of the ADA by unjustified

       discipline, suspension, subjecting her to a hostile work environment and constructive

       discharge because of her record of a disability.

149.   Defendant discriminated against Ms. Andrews in violation of the ADA by unjustified

       discipline, suspension, subjecting her to a hostile work environment and constructive

       discharge because it regarded her as having a disability.

150.   Defendant discriminated against Ms. Andrews in violation of the ADA when it failed

       to reasonably accommodate her disability, and instead suspended and constructively

       discharge her from employment because of disability.

151.   As a direct and proximate result of Defendant’s violations of the ADA, Ms. Andrews

       has incurred damages.

152.   Defendant acted intentionally and with malice or reckless indifference to Ms. Andrews’

       rights under the ADA.

                         COUNT II: Retaliation in Violation of the
                          Americans with Disabilities Act (ADA)


153.   Plaintiff repeats and re-alleges each of the allegations set forth in the preceding

       paragraphs as if fully set forth herein.



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154.   Defendant discriminated against Ms. Andrews in violation of the ADA when it

       retaliated against her with unjustified discipline, subjected her to a hostile work

       environment and constructively discharged her from employment because she

       requested accommodation of her disability.

155.   Defendant discriminated against Ms. Andrews in violation of the ADA when it

       retaliated against her with unjustified discipline, subjected her to a hostile work

       environment and constructively discharged her from employment because she opposed

       discriminatory treatment because of her disability, including by filing a charge of

       discrimination for disability discrimination.

156.   As a direct and proximate result of Defendant’s violations of the ADA, Ms. Andrews

       has incurred damages.

157.   Defendant acted intentionally and with malice or reckless indifference to Ms. Andrews’

       rights under the ADA.

               COUNT III: Disability Discrimination in Violation of the
                       Maine Human Rights Act (MHRA)


158.   Plaintiff repeats and re-alleges each of the allegations set forth in the preceding

       paragraphs as if fully set forth herein.

159.   Defendant discriminated against Ms. Andrews in violation of the MHRA when it

       disciplined her and suspended her from employment because of her disability.

160.   Defendant discriminated against Ms. Andrews in violation of the MHRA by subjecting

       her subjected her to a hostile work environment because of her disability.

161.   Defendant discriminated against Ms. Andrews in violation of the MHRA when it

       constructively discharged her from employment because of her disability.



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162.   Defendant discriminated against Ms. Andrews in violation of the MHRA by unjustified

       discipline, suspension, subjecting her to a hostile work environment and constructive

       discharge because of her record of a disability.

163.   Defendant discriminated against Ms. Andrews in violation of the MHRA by unjustified

       discipline, suspension, subjecting her to a hostile work environment and constructive

       discharge because it regarded her as having a disability.

164.   Defendant discriminated against Ms. Andrews in violation of the MHRA when it failed

       to reasonably accommodate her disability, and instead suspended and constructively

       discharge her from employment because of disability.

165.   As a direct and proximate result of Defendant’s violations of the MHRA, Ms. Andrews

       has incurred damages.

166.   Defendant acted intentionally and with malice or reckless indifference to Ms. Andrews’

       rights under the MHRA.

                    COUNT IV: Retaliation in Violation of the MHRA


167.   Plaintiff repeats and re-alleges each of the allegations set forth in the preceding

       paragraphs as if fully set forth herein.

168.   Defendant discriminated against Ms. Andrews in violation of the MHRA when it

       retaliated against her with unjustified discipline, subjected her to a hostile work

       environment and constructively discharged her from employment because she

       requested accommodation of her disability.

169.   Defendant discriminated against Ms. Andrews in violation of the MHRA when it

       retaliated against her with unjustified discipline, subjected her to a hostile work

       environment and constructively discharged her from employment because she opposed

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       discriminatory treatment because of her disability, including by filing a charge of

       discrimination for discrimination in violation of the MHRA.

170.   As a direct and proximate result of defendant’s violations of the MHRA, Ms. Andrews

       has incurred damages.

171.   Defendant acted intentionally and with malice or reckless indifference to Ms. Andrews’

       rights under the MHRA.



              COUNT V: Maine Whistleblowers’ Protection Act, (MWPA)


172.   Plaintiff repeats and re-alleges each of the allegations set forth in the preceding

       paragraphs as if fully set forth herein.

173.   Ms. Andrews reported to Mid Coast that actions and practices that that she reasonably

       believed violated federal and Maine laws and rules prohibiting disability discrimination

       when she complained to Mid Coast managers in 2020 about discriminatory treatment by

       her supervisor.

174.   Ms. Andrews reported to the Maine Human Rights Commission Mid Coast’s actions and

       conduct that that she reasonably believed violated federal and Maine laws and rules

       prohibiting disability discrimination in July 2020.

175.   Defendant violated the MWPA by threatening or otherwise discriminating against Ms.

       Andrews regarding her compensation, terms, conditions, and privileges of employment

       because she reported to defendant actions and practices that she reasonably believed

       violated federal and Maine laws and rules prohibiting disability discrimination and

       governing medical leave.

176.   Defendant violated the MWPA when it discriminated and retaliated against Ms. Andrews

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       by subjecting her to a hostile work environment because she reported to defendant

       practices that she reasonably believed violated federal and Maine laws and rules

       prohibiting disability discrimination and governing medical leave.

177.   Defendant violated the MWPA when it discriminated and retaliated against Ms. Andrews

       by suspending her from employment because she reported to defendant practices that she

       reasonably believed violated federal and Maine laws and rules prohibiting disability

       discrimination and governing medical leave.

178.   Defendant violated the MWPA when it discriminated and retaliated against Ms. Andrews

       by constructively discharging her from employment because she reported to defendant

       practices that she reasonably believed violated federal and Maine laws and rules

       prohibiting disability discrimination and governing medical leave.

179.   As a direct and proximate result of defendant’s violations of the MWPA, Ms. Andrews

       suffered damages.

180.   Defendant acted with malice or reckless indifference to Ms. Andrews’ rights under the

       MWPA.

         COUNT VI: Interference With Exercise of Rights in Violation of the
                     Family and Medical Leave Act (FMLA)


181.   Plaintiff repeats and re-alleges each of the allegations set forth in the preceding

       paragraphs as if fully set forth herein.

182.   At all times relevant to this action, Ms. Andrews was an eligible employee under the

       FMLA.

183.   At all times relevant to this action, Mid Coast was an employer covered by the FMLA.

184.   Ms. Andrews qualified for FMLA benefits because of her own serious health



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       conditions, including her seizure disorder and mental health conditions of anxiety and

       depression.

185.   In about February 2019, and again in 2020, Ms. Andrews through her medical care

       provider notified Mid Coast that Ms. Andrews would have episodic flare ups of her

       health conditions that would prevent her from performing her job, and for which leave

       was medically necessary.

186.   Defendant approved Ms. Andrews’ request for unscheduled intermittent leave under

       the FMLA including in 2019, and 2020.

187.   Defendant interfered with Ms. Andrews’ right to use FMLA leave by denying her

       request to leave a meeting due to anxiety and fear of an impending seizure on October

       15, 2020.

188.    Defendant interfered with and denied Ms. Andrews’ right to use FMLA leave by

       imposing disciplinary action of Final Warning on Ms. Andrews for her use of approved

       unscheduled, intermittent FMLA leave on October 15 and 16, 2020 when she was

       experiencing anxiety and a seizure.

189.   Defendant intentionally and willfully interfered with Ms. Andrews’ exercise of rights

       under FMLA.

190.   As a consequence of Defendant’s interference with Ms. Andrews’ rights under the

       FMLA, Ms. Andrews suffered damages.

                       COUNT VII: Retaliation in Violation of the
                        Family and Medical Leave Act (FMLA)

191.   Plaintiff repeats and re-alleges each of the allegations set forth in the preceding

       paragraphs as if fully set forth herein.

192.   Ms. Andrews engaged in protected activity under the FMLA by opposing interference

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       with her right to use approved unscheduled intermittent medical leave, including in

       October 2020.

193.   Defendant took adverse action against Ms. Andrews in retaliation for and because of

       her opposition to interference with use of FMLA leave by imposing discipline on her

       for leaving work and absences covered by FMLA leave in October and November

       2020.

194.   Defendant took adverse action against Ms. Andrews in retaliation for and because of

       her opposition to denial of FMLA leave by constructively discharging her from

       employment.

195.   Defendant intentionally and willfully retaliated against Ms. Andrews for her

       opposition to denial of rights under the FMLA.

196.   As a consequence of defendant’s retaliation in violation of the FMLA, Ms. Andrews

       suffered damages.

               COUNT VIII: Interference with Exercise of Rights in Violation of
               The Maine Family Medical Leave Requirement Act, (“MFMLR”)

197.   Plaintiff repeats and re-alleges each of the allegations set forth in the preceding

       paragraphs as if fully set forth herein.

198.   At all times relevant to this action, Ms. Andrews was an eligible employee under the

       MFMLR.

199.   At all times relevant to this action, Mid Coast was an employer covered by the

       MFMLR.

200.   Ms. Andrews qualified for MFMLR benefits because of her own serious health

       conditions, including her seizure disorder and mental health conditions of anxiety and

       depression.

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201.   In about February 2019, and again in 2020, Ms. Andrews through her medical care

       provider notified Mid Coast that Ms. Andrews would have episodic flare ups of her

       health conditions that would prevent her from performing her job, and for which leave

       was medically necessary.

202.   Defendant approved Ms. Andrews’ request for unscheduled intermittent leave

       including in 2019, and 2020.

203.   Defendant interfered with Ms. Andrews’ right to use MFLMLR leave by denying her

       request to leave a meeting due to anxiety and fear of an impending seizure on October

       15, 2020.

204.    Defendant interfered with and denied Ms. Andrews’ right to use MFMLR leave by

       imposing disciplinary action of Final Warning on Ms. Andrews for her use of approved

       unscheduled, intermittent medical leave on October 15 and 16, 2020 when she was

       experiencing anxiety and a seizure.

205.   Defendant intentionally and willfully interfered with Ms. Andrews’ exercise of rights

       under the MFMLR.

206.   As a consequence of Defendant’s interference with Ms. Andrews’ rights under the

       MFMLR, Ms. Andrews suffered damages.

                   COUNT IX: Retaliation in Violation of the MFMLR

207.   Plaintiff repeats and re-alleges each of the allegations set forth in the preceding

       paragraphs as if fully set forth herein.

208.   Ms. Andrews engaged in protected activity under the MFMLR by opposing

       interference with her right to use approved unscheduled intermittent medical leave,

       including in October 2020.



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209.   Defendant took adverse action against Ms. Andrews in retaliation for and because of

       her opposition to interference with use of MFMLR leave by imposing discipline on her

       for leaving work and absences covered by MFMLR leave in October and November

       2020.

210.   Defendant took adverse action against Ms. Andrews in retaliation for and because of

       her opposition to denial of MFMLR leave by constructively discharging her from

       employment.

211.   Defendant intentionally and willfully retaliated against Ms. Andrews for her

       opposition to denial of rights under the MFMLR.

212.   As a consequence of defendant’s retaliation in violation of the MFMLR, Ms. Andrews

       suffered damages.




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                                         PRAYER FOR RELIEF

          Plaintiff Andrews respectfully requests that the Court grant the following relief:

          A.     Enter Judgment in plaintiff’s favor;

          B.     Declare the conduct engaged in by defendant to be in violation of plaintiff’s rights

under the ADA, MHRA, MWPA, FMLA and MFMLR;

          C.     Enjoin defendant MaineHealth, its agents, employees, and those acting in concert

with them from continuing to violate plaintiff’s rights;

          D.     Order defendant to restore plaintiff Andrews to employment, or award front pay

and benefits;

          E.     Award equitable relief for back pay and lost benefits;

          F.     Award compensatory damages under the ADA, MHRA, and MWPA in an

amount to be determined at trial;

          G.     Award lost wages and liquidated damages under the FMLA and MFMLR;

          H.     Award nominal damages;

          I.     Award attorney’s fees, including legal expenses, and costs;

          J.     Award prejudgment interest;

          K.     Permanently enjoin defendant from engaging in any employment practices which

discriminate on the basis of disability, interfere with rights to medical leave or retaliate for

opposition to illegal practices or conditions;

          L.     Require defendant to mail a letter to all employees notifying them of the verdict

against them and stating that defendant will not tolerate discrimination or retaliation in the

future;

          M.     Require that defendant post a notice in all of its workplaces of the verdict and a

copy of the Court’s order for injunctive relief;

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       N.      Require that defendant train all management level employees on the protections

afforded by the ADA, MHRA, MWPA, FMLA and MFMLR;

       O.      Require that defendant place a document in plaintiff’s personnel file which

explains that defendant discriminated against plaintiff and unlawfully constructively discharged

her from employment; and

       P.      Grant to plaintiff such other and further relief as may be just and proper.



                                              Respectfully Submitted,



DATE: July 12, 2022                           /s/ Lisa J. Butler___________
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